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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
                 PlaintilT.                    )
                                               ) CRIMINAL NO. 21-30023-SPM
vs.                                            )
                                               )
KEVIN HUTCHINSON.                              )
                                               )
                 Defendant.                    )


                                        PLEA AGREEMENT

          The attorney for the United States and the attorneys for the Defendant have engaged in

discussions and have reached an agreement, pursuant to Federal Rule of Criminal Procedure

11(c)(1)(B). The terms are as follows:

                                  I. Charges, Penalties, and Elements

          1.     Defendaiit understands the charge contained in the Indictment, and will plead

guilty to the count in the Indictment. Defendant understands the essential elements of the counts

and the possible penalties, as set forth below:


  Count           Charge               Statutory Penalties            Essential Elements


                                                                  The defendant made a
                                                                  statement: and

                                    Imprisonment: 5 years     2. The statement was false; and
                  Making a          Fine: $250,000
               Materially False     Supervised Release: 3     3. The statement was material: and
      1           Statement
                                    years
                 18U.S.C. §         Special Assessment:       4. The defendant acted knowingly
                 1001(a)(2)         $100                         and willfully; and

                                                              5.. The false statement relates to a
                                                                  matter within the jurisdiction of
                                                                  a federal agency.
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       Defendant committed acts that satisty each of the essential elements listed above.

       1.      Title 18, United States Code, Section 3013 requires the Court to assess a $100

 special assessmenf’ per felony count and $25 per misdemeanor count. Defendant understands

that the special assessment will be due immediately at the time of sentencing.

       2.      Defendant understands that the United States may recommend, and the Court may

impose, a fine, costs of incarceration, and costs of supervision. The Defendant agrees to

participate in the Inmate Financial Responsibility Program to help satisty any financial

obligations.

       3.      Defendant agrees to the Stipulation of Facts by between the parties.

       4.      Defendant shall provide the United States Probation Office with all information

requested to prepare the Presentence Report, including signing all releases. Defendant agrees that

the Probation Office may share any financial information with the United States Attorney’s

Office and Defendant waives any rights Defendant may have under the Right to Financial

Privacy Act. Defendant agrees to make complete financial disclosure by truthfully filling out a

financial statement, at the direction of the United States Attorney’s Office.

                              II. Advisory Sentencing Guidelines

       1.      Defendant understands that in determining the sentence, the Court is obligated to

consider the minimum and maximum penalties allowed by law. In determining what sentence to

impose, the Court will also calculate and consider the applicable range under the U.S. Sentencing

Guidelines. The Court will ultimately determine the sentence after hearing the arguments of the

parties and considering the sentencing factors set forth at 18 U.S.C. §3553(a), which include:

               (i)     the nature and circumstances of the offenses and the history and
                       characteristics of the defendant;


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               (ii)    the need for the sentence imposed to reflect the seriousness of the offense,
                       promote respect for the law, and provide just punishment for the offense,
                       afford adequate deteixence to criminal conduct, protect the public from
                       further crimes of the defendant, and provide the defendant with needed
                       educational or vocational training, medical care, or other correctional
                       treatment in the most effective manner;

               (iii)   the kinds of sentences available;

              (iv)     the need to avoid unwaiTanted sentencing disparities among defendants
                       with similar records who have been found guilty of similar conduct; and

              (V)      the need to provide restitution to any victim of the offense.

       2.      Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), the Court is not

bound by the parties’ calculations ofthe US Sentencing Guidelines range set forth in this Plea

Agreement or by the parties’ sentencing recommendations. Therefore, the Court may impose a

different sentence than what is described in this Plea Agreement - anywhere between the

minimum sentence (if any) up to the statutory maximum sentence. If the Court imposes a

different sentence than what is described in this Plea Agreement, the parties shall not be


permitted to withdraw from the Plea Agreement and the Defendant will not be permitted to

withdraw the guilty plea.

       3.      The United States and Defendant submit that, after all factors have been

considered. Defendant will have the following advisory US Sentencing Guideline range:

                        Offense Level 4,
                        Criminal History Category of I,
                        Imprisonment range of 0-6 months.
                        Fine range of$500 - $9,500.

                        The parties submit that the applicable advisory Guideline calculation is
                        as follows:




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     Guideline
                                                  Description                                Level
      Section

    §2B1.1(a)(1)                              Base Offense Level                                  6
   2B1.1(b)(1)(D)                                Loss > $6,500                                    0


                                          TOTAL OFFENSE LEVEL                                     6

       §3E1.1                            Acceptance of Responsibility                          (2)

                                             OFFENSE LEVEL:                                       4

Criminal History Category I
Guidelines Range = 0-6 months

       4.       Guideline Disagreements: The Defendant’s waiver of appeal (see, Section V.)

includes a waiver of any right to appeal or collaterally challenge the District Court’s ruling on

any disputed Guideline provision.

       5.       Defendant and the Government agree that, to date. Defendant has voluntarily

demonstrated a recognition and affirmative acceptance of personal responsibility for this

criminal conduct, and the Government will recommend a reduction of2 Levels. See U.S.S.G. §

SELL

       6.       The United States submits that it appears that Defendant has amassed (0)

Criminal History points and that, therefore, the Sentencing Guideline Criminal History

Category is I. The parties agree that the Defendant has no prior felony convictions.

       7.       The parties acknowledge that the Defendant is in the best position to know if his

criminal history information is correct and complete. If it is not, the sentencing calculations

reflected in this Plea Agreement may be substantially impacted. Defendant further recognizes

that the final calculation will be determined by the Court after considering the Presentence

Report, the views of the parties, and any evidence submitted. Regardless of the criminal history

found by the Court, the parties will not be able to withdraw from this plea agreement and the



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Defendant will not be able to withdraw the guilty plea. The parties reserve the right to argue for,

present testimony, or otherwise support the Probation Office's or the Court's findings as to

Offense Level and Criminal History Category, which may be different from the calculations set

forth in this Plea Agreement.

                                III. Sentencing Recommendations

       The United States and the Defendant concur that after considering the statutory


sentencing factors pursuant to 18 U.S.C. § 3553(a) the appropriate recommendation to the court

at sentencing that is sufficient but not greater than necessary is:

        1) Two years’ probation, with the agreement of the government that if the defendant

             completes one year of probation without a violation the government will not oppose

             the early termination of probation;

       2) $1,000 fine;

       3) 40 hours of community service


       IV.      Limitation of Plea Agreement & Breach of the Agreement

        1.      All agreements between the parties are written and no other promises,

inducements, representations, or threats were made to induce Defendant to enter into the Plea

Agreement and Stipulation of Facts. Defendant agrees that this Plea Agreement, the Stipulation

of Facts, and any supplements, make up the entire agreement between the United States and

Defendant and supersedes any other agreement, oral or written. The terms of this Plea

Agreement can be modified only in writing signed by all of the parties.

       2.       The United States will file a sealed supplement to this plea agreement, as required

in every case in the Southern District of Illinois. That supplement may, or may not, include




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additional terms. If additional terms are included in the supplement, they are incoiporated and


made a part of this Plea Agreement.

       3.      Defendant understands and acknowledges that the Plea Agreement is limited to

the Southern District of Illinois, and cannot bind other federal, state or local prosecuting

authorities other than expressly described in this plea agreement. Defendant further understands

and acknowledges that the Plea Agreement does not prohibit the United States, any agency

thereof, or any third party from initiating or prosecuting any civil proceedings directly or

indirectly involving Defendant.

       4.      If the Defendant commits any violation of local, state or federal law (other than a

petty traffic offense), violates any condition of release, violates or fails to perform any term of

this Plea Agreement, provides misleading, incomplete, or untruthful information to the U.S.

Probation Office, or fails to appear for sentencing, the United States, at its option, may ask the

Court to be released from its obligations under this Plea Agreement. The United States may also.

in its sole discretion, proceed with this Plea Agreement and may advocate for any sentencing

position supported by the facts, including, but not limited to obstruction ofjustice and denial of

acceptance of responsibility. No action taken or recommendation made by the Govermuent

pursuant to this paragraph shall be grounds for the Defendant to withdraw the guilty plea.

       5.      Defendant agrees that in the event the Defendant materially breaches this Plea

Agreement, or Defendant is permitted to withdraw Defendant’s guilty plea(s), that any and all

statements made by Defendant, whether under oath or not, at the change of plea hearing, and any

evidence derived from such statements, are admissible against Defendant in any prosecution of

or action against Defendant. Defendant knowingly and voluntarily waives any argument under

the United States Constitution, any statute. Rule 410 of the Federal Rules of Evidence, Rule 11(f)



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of the Federal Rules of Criminal Procedure, or any other federal rule, that the statements or any

evidence derived from any statements should be suppressed or are inadmissible.

                V.    Defendant’s Waiver of Rights, Consequences of Plea of Guilty,
                                          and Appeal Waiver

        1.      The Defendant has the right to be represented by counsel, and if necessary, to

have the Court appoint counsel at trial and at every other stage of the proceeding. Defendant’s

counsel has explained the waivers of rights, and the consequences of those waivers, that are

contained in this Plea Agreement. Defendant fully understands that, as a result of the guilty plea.

no trial will occur and that the only action remaining to be taken in this case is the imposition of

the sentence.

       2.       By pleading guilty. Defendant fully understands that Defendant is waiving the

following rights: the right to plead not guilty to the charges; the right to be tried by a jury in a

public and speedy trial; the right to file pretrial motions, including motions to suppress or

exclude evidence; the right at such trial to a presumption of innocence; the right to require the

United States to prove the elements of the offenses charged against Defendant beyond a

reasonable doubt; the right not to testify; the right not to present any evidence; the right to be

protected from compelled self-incrimination; the right at trial to confront and cross-examine

adverse witnesses; the right to testify and present evidence; and the right to compel the

attendance of witnesses.

        3.      Release Pending Sentencing:

       The Defendant acknowledges that Title 18, United States Code, Section 3143(a)(1)

requires that upon a plea of guilty in this case, the Court must order the Defendant detained

pending sentencing, unless the Court finds by clear and convincing evidence that the Defendant

is not likely to flee or pose a danger to the safety of any other person or the community if


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admitted to bond, pursuant to Title 18, United States Code, §3142(b) or (c). The United States

and the Defendant agree that detention is not necessary in this case pending sentencing because

the Defendant does not pose a danger to the safety of any other person or the community in that

he has no criminal history and the offenses to which he has pled are non-violent. The Defendant

is not likely to flee in that he is a life-long resident in the District.

        4.      Defendant understands that by pleading guilty. Defendant is waiving all appellate

issues that might have been available if Defendant had exercised the right to trial.

        5.      Defendant is aware that Title 18, Title 28, and other provisions of the United

States Code afford every defendant limited rights to contest a conviction and/or sentence through

appeal or collateral attack. However, in exchange for the recommendations and concessions

made by the United States in this Plea Agreement, Defendant knowingly and voluntarily

waives the right to seek modification of, or contest any aspect of, the conviction or sentence

in any type of proceeding, including the manner in which the sentence was determined or

imposed, that could be contested under Title 18 or Title 28, or under any other provision of

federal law. Defendant’s waiver of the right to appeal or bring collateral attacks includes

contesting: 1) the constitutionality of the statute(s) to which Defendant is pleading guilty or

under which Defendant is sentenced; and 2)that the conduct to which Defendant has admitted

does not fall within the scope of such statute(s).

        6.      Exceptions to the waiver of the right to appeal or bring a collateral attack:

                a. If the sentence imposed is in excess of 5 years’ imprisonment. Defendant

                    reserves the right to appeal the substantive reasonableness of the term of

                    imprisonment. Defendant aclmowledges that in the event such an appeal is

                    taken, the United States reserves the right to fully and completely defend the
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                   sentence imposed, including any and all factual and legal findings supporting

                   the sentence, even if the sentence imposed is more severe than that

                   recommended by the United States.

               b. The defendant’s waiver of the right to appeal or bring a collateral attack does

                   not apply to a claim that Defendant received ineffective assistance of counsel.

The United States reserves the right to oppose any such claim for relief The parties agree that

the Defendant is waiving all appeal and collateral attack rights, except those specified in this

paragraph of the Plea Agreement.

       7.      Except as expressly pennitted in the preceding paragraph. Defendant

acknowledges that any other appeal or collateral attack may be considered a material breach of

this Plea Agreement and the United States reserves the right to take any action it deems

appropriate, including having a court declare that Defendant has materially breached this Plea

Agreement.

       8.      Defendant’s waiver of appeal and collateral review rights shall not affect the

United States’ right to appeal Defendant’s sentence pursuant to Title 18, United States Code,

Section 3742(b). This is because United States Attorneys lack any right to control appeals by the

United States, through plea agreements or otherwise; that right belongs to the Solicitor General.

28 C.F.R. § 0.20(b).

       9.      Defendant hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any Department or Agency of the United States, or unit

of state government, any records pertaining to the investigation or prosecution of this case.

including without limitation, any records that may be sought under the Freedom of Information

Act, Title 5, United States Code, Section 552, or the Privacy Act of 1974, Title 5, United States



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Code, Section 552a, or the Illinois Freedom of Information Act(5 ILCS 140) or the Illinois Open

Meetings Act(5 ILCS 120).

        10.    Defendant waives all civil claims against the United States or any official working

on behalf of the United States during the investigation or prosecution ofthis matter.

                          VI. Collateral Consequences of Conviction

        1.     Defendant understands that Defendant is pleading guilty to a felony punishable by

a term of imprisonment exceeding one year. Therefore, no matter what sentence the Court

imposes(whether probation or any term of imprisonment), Defendant will be forbidden by

federal firearms laws from possessing any type of firearm in Defendant’s lifetime, unless

Defendant obtains relief pui'suant to 18 U.S.C. § 925, or other appropriate federal statute.

       2.      Defendant acknowledges that other collateral consequences are possible.

                            VII.    Defendant’s Acknowledgements

       a.      Defendant is fully satisfied with the representation received from defense counsel.

Defendant has reviewed the United States’ evidence and has discussed the United States’ case.

possible defenses and defense witnesses with defense counsel. Defendant’s attorney has

completely and satisfactorily explored all areas which Defendant has requested relative to the

United States’ case and possible defenses. Defendant acknowledges having had adequate

opportunity to discuss the potential consequences of the guilty plea with defense counsel.

Defendant has had all of Defendant’s questions answered by defense counsel. Defendant agrees

that this Plea Agreement is not the result of any threats, duress, or coercion. Defendant enters

this guilty plea freely, voluntarily, and knowingly, because Defendant is in fact guilty.




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        b.       By signing this Plea Agreement, Defendant certifies having read it (or that it has

been read to Defendant in a language that Defendant understands). Defendant has discussed the

terms of this Plea Agreement with defense counsel and fully understands its meaning and effect.

                                                VIII.


        No additional matters are in dispute.




                                                        UNITED STATES OF AMERICA,
                                                        STEVEN D. WEINHOEFT
                                                        United States Attorney


KEVIN HUTCHINSON
Defendant                                               Assistant United States Attorney


CLYDE KUEHN
Attorney/for
        /    Defendant

Date;                                                   Date;                     L
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